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./'i   --UNITED STATIS DISTRICT COURT
 \~                   N D1sh1cT OF PENNSYL v ANIA

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                                                                                               03/\13031:1
                                  - against -

       (ht CcWfyo\:&ks/Pe»v:>ylvau(8/                                                       COMPLAINT
       Bcl.a\\ o\hec~aQb slM.C11t0                                                                under the

       fu\r \u::hvd ®l ow aWc1a l                                                     Civil Rights Act, 42 U.S.C. § 1983
                                                                                             (Prisoner Complaint)


                                                                                         Jury Trial:    ~D               No
                                                                                                           (check one)




       (In the space above enter the fall name(s) of the defendant(s). Jfyou
       cannot fit the names of all of the defendants in the space provided,
       please write "see attached" in the space above and attach an
       additional sheet of paper with the fall list of names. The names
       listed in the above caption must be identical to those contained in
       Part I. Addresses should not be included here.)


       I.          Parties in this complaint:

       A.          List your name, identification number, and the name and address of your current place of
                   confinement. Do the same for any additional plaintiffs named. Attach additional sheets of paper
                   as necessary.   ~


       Plaintiff           Name--~~~--------------------------
                           ID# _.20o3_:-_Cd_~:L/--~i1a_C2_&________________                                                     .
                           Current Institution    S6_ed:~'i~_.C:a>-4¥-f'r!~~~aJ_Ley~__Lr£P/6CJSj
                           Address __Qi'±__eavu{-¥,JM~~--~ftd[k-:[l.&,1_______
                           _____bees~n\:1-7-A__Lqs~-------------------------

       Rev. 1012009
Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 2 of 59

               SEE ATTACHED FORM                                 -   ~,
           Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 3 of 59

B.        List all defendants' names, positions, places of employment, and the address where each defendant
          may be served. Make sure that the defendant(s) listed below are identical to those contained in the
          above caption. Attach additional sheets of paper as necessary.

Defendant No. 1             Name'Eec.bieuci-.V-.t-~~~ly_q&Ll~-,~-CtJJ_uif-/_.Jowt>Shtp
                            Where Currently Employed __b._llire._c£_AJb.c~G:,-~~~J.:oJ_ -
                            Address_L_;?_:tc~~l'-!J--~~~~--------------------
                            _____it.oc.L_~'l::,_u~~~-J_:J:j.f2J_________________________ _

Defendant No. 2             Name--------------------------------------- Shield# ______ _
                            Where Currently Employed-----------------------------------
                            Address _________________________________________________ _




Defendant No. 3             Name - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - Shield # _______ _
                            Where Currently Employed - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                            Address ________________________________________________ _




Defendant No. 4             Name------------------------------ Shield# _______ _

                            Where Currently Employed - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

                            Address - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




Defendant No. 5             Name - - - - - - - - - - - - - - - - - - - - - - - - - - - - - Shield # ________ _

                            Where Currently Employed - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

                            Address - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


II.       Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the
caption of this complaint is involved in this action, along with the dates and locations of all relevant events.
You may wish to include further details such as the names of other persons involved in the events giving
rise to your claims. Do not cite any cases or statutes. If you intend to allege a number of r.elated claims,
number and set forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.

A.        In what institution did the events giving rise to your claim(s) occur? - - - - - - - - - - - - - -


B.        Where in the institution did the events giving rise to your claim(s) occur?




C.        What date and approximate time did the events giving rise to your claim(s) occur? - - - - - - -



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                                 Document 11 Filed 10/22/14 Page 4 of 59


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                       Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 5 of 59
                                        BERKS COUNTY JAIL SYSTEM
                   __._            ADMINISTRATIVE SEGREGATION RECORD                                                    '·
N~me-i<&-1\~V.1...~.MY.2{. .                          ·.            BCJS#     Jl(){).3·/t.jt.;./    Cell Assignment     ().iOJ
Date  k· tf. /II Time 711()                         Incident Location   /!mt.AL
_Security                                                        Medical Confinement          _      Maladaptive Provisions
   Mental Health Confinement                                     Protective Custody                  Other
                                 -"--·-
iNMATE NOTIFICATION
         1. You are being specially confined in close custody status for reasons outlined on this
              form.
         2.   You have the right to present rebuttal information or mitigating circumstances via
              an lnr:nate Communication Form.
         3. Your status will be reviewed regularly by the Inmate Classification Committee {ICC).

                   I, (print)                                         , request to be placed in Protective Custody.
                   This is made of my own free will, and I will not hold Berks County Jail System nor any staff
                   member responsible for this choice. I understand that Protective Custody requires that I
                   remain in a locked cell except exercise periods, and that I shall exercise alone or in small
                   groups according to security needs.

                                                         Inmate Signature:
                   Supervisor signature denotes witnessing inmate signature of Protective Custody request.

                                          Supervisor Signature                                               Date




                                                                                                   =!)._..     =




                   Physical ReStraints (extluding-tra'nsports) Type:__- - - - , - - - - - Duration: _ _ __
           /       Authorized by:                      .   \                     ' _ _ _ _ Time: _ _ _ __
                                                                          Date:_"_·.
       V           Copy given to inmate by: t.-..... £7Jii1 }  (Delivering Officers Initials)
                  ADMINISTRATIVE REVIEW/                                          RELEASE FROM SEGREGATION
Date           b- CJ- J l..f       Time / Lfs-O                                                  Time - - - -
  ~               Reviewed & Sustained                                Notation:
                                                                                  -------------~
                  Referral to:
                  Status Modified
                   *
                           ;~;   L r r,-+[-"/_ _ _ __                              *
                                                                                        Warden I Deputy Warden I LT



ORIGINAL -         Treatmente~-                         q.tody     A-       Housing unit       GOLDENROD-           inmate


                          Forms\Close Custody Paperwork-Administration Segregation Record BCJS324C, 9-2013
CorEMR-Ramsey Randall:: DOJ Orders I v5.0.0                                                                    Page 1of1
           Case
             ' 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 6 of 59

   iiDOJ Orders                     JMSID:       2003-6424         Location:        Intake
                                    SSN:         XXX-XX-XXXX       Ethnicity:
                                    DOB:         02/05/1985        Interviewer:     Federman, David (06/04/2014 11 :02)
   Ramsey Randall                   Age:         29
   #2014-2798                       Agency:

                               ..                    ~ Psychologist/Psychiatrist
  Until Cleared By:

  15 Minute Suicide Watch                            li'.   Initiate

  Stripped Cell                                      i!t'   Initiate

  Clothes ar;id Bedding Only                         (i'    Initiate

  Finger Food                                        \I'    Initiate

  Exercise                                           i''    Denied

  Other - Please specify

  Date DOJ Initiated
                                                     ••     Initiate               Move to 0 unit with clothing and bedding .
                                                                                   May have a book
                                                                                   06/04/2014
  Time DOJ Initiated                                 1102




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         Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 8 of 59
If you have been continuously confined here for one year, you may request an updated physical exam.
This update will be provided without a fee charge. The service must be requested in writiAg, and directed
to the medical department supervisor.           ·                             ·

   4.5.1 Sick Call
   If you want to· be seen by the medical staff you must .fill out a sic:k call slip in your housing unit. On
   the sheet you will provide your name, housing assignment, and give the reason you are seeking
   medical assistance. You will be contacted by medical staff for ;:1n assessment. If you are not
   contacted .bY medical staff within 24 hours, sign up again.
                                                                          .
   All medical emergency situations must be brought to the immediate attention of either your Housing
   Unit Officer or the nearest staff member.

   4.5.2 Medication                                                   1          .      .
   If you are taking medication when you are committed to the jaU: the medication may be temporarily
   discontinued (until the prescription can be verified), changed,   or
                                                                    discontinued (upon medical advice).

   You are required to consume prescription medication in the presence of medical personnel. Staff are
   pe.rmitted to examine your mouth to ensure compliance. Conc~aling medication is a serious
   misconduct and may result in your medication being immediately discontinued.

   The Medical Department will maintain a supply of over the counter drugs and issue appropriate
   quantities to you, if deemed necessary for treatment. Over the. counter medication is also available
   through the commissary and can be purchased at the prevailing commissary rate. Cosmetic
   medications (dandruff shampoos, lotion, etc.) are not dispensei:i through the medical department.
   Some of these articles are available through the commissary. '

    You must tock yourself into your cell when nurses arrive on your unit to dispense medication and
    remain tocked in until the process is complete ..

4.6 Telephone                                                           .
During your first three to five days of confinement, usually shortly eJfter commitment, you will be permitted
one free phone call to notify friends and family of your whereabouts. Staff.will provide you with at least
four attempts to contact friends and family members. if you attempt to, bi.Jt cannot reach your
friends/family during the first three to five days of your stay, the jaWs obligation to provide free telephone
access will be satisfied and you must then use the collect call teleP,holies available to you.
                    • "Three way calls• are not permitted.              '.
                    • You may not allow another inmate to use yoµr pin number or phone privileges.
                    • You may not use another inmate's pin number or phone privileges.

Telephones are provided for your use in housing unit dayrooms. j\ccess to these telephones is available
during dayroom free time periods. (Access may be restricted or denied for those in some forms of -
segregation.)

You will be required to complete a Telephone Request Form at the time of commitment to the jail. This
form inust be completed in its entirety for you to be approved for u~e of the telephone system. If you
wish to add or delete telephone numbers from your list, you need to resubmit this form, completed in its
entirety, and place it in the appropriate box on your housing unit.

A listing of the telephone rates is posted near the tel~phones on yqur unit. Should those whom you
choose to call in the community fail to pay the bills for this service~ you will be held fully responsible for
those costs.




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CorEMR- Ramsey Randall:: DOJ Orders I v5.0.0                                                                       Page 1of1
                      Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 10 of 59


   iilDOJ Orders                       JMSID:      2003-6424         Location:            0 :208
                                       SSN:        XXX-XX-XXXX       Ethnicity:
                                       DOB:        02/05/1985        Interviewer:         Federman, David (06/06/2014 09:29)
   Ramsey Randall                      Age:        29
   #2014-2798                          Agency:     State PV


  Until Cleared By:                                    ~ Psychologist/Psychiatrist

  15 Minute Suicide Watch                              Ii'    Discontinue

  Stripped Cell

  Clothes and Bedding Only

  Finger Food
                                                       .
                                                       ~'


                                                       i:f'
                                                              Discontinue

                                                              Discontinue

                                                              Discontinue


  Exercise
                                                       fi'    Exercise per Institution
                                                              Policy

                                                                                          Release from 0 Unit. DC precautions.
  Other - Please specify                               ti'    Initiate                    May have property, exercise as per
                                                                                          institutional policy. DC finger food
  Date DOJ Initiated                                                                      06/06/2014
  Time DOJ Initiated                                   0929




                                                                                    ','




https://berks.pcmemr.com/Modules/Forrns/forrn- record.php?forrn- record- id=419465&action=vie...                       6/6/2014
                                      BERKS
                  Case 5:14-cv-05091-JHS    COUNTY11PRISON
                                          Document    Filed 10/22/14 Page 11 of 59
TO:    PUBLIC DEFEENDER'S OFFICE                   RE: REQUEST FOR INFORMATION/ASSISTANCE

INMATE:                              HOUSING UNIT:                      TODAY'S DATE:

1.    SUPPLY ALL OF THE FOLLOWING INFORMATION THAT IS KNOWN TO YOU:

      Date of Admission to BCP                  Date of Arrest                 Bail   ------
                                     ----                        -----
      Charge & Docket Numbers

      District Justice or Judge               Attorney's Name
      Were you on probation/parole at time of arrest? c=J Yes               c=J No
*******************************************************************************
2.    REQUEST INFORMATION OR ASSISTANCE ON THE FOLLOWING:

      D     Current status of criminal case.
      D     Date of next Court appearance.
      D     Request for plea bargain.
      D     Request name of attorney assigned to my case.
      D     Request information regarding bail.
      D     Request interview with my attorney to discuss:
             D       Plea bargain.             D     Appeals.
             [:J     Court appearance.         c=J   Other Matter.

********************************************************************************
3.    SUPPLY SPECIFIC DETAILS RELATED TO THE ABOVE REQUEST:




      RESPONSE:                                                       DATE=---------~




                                 -

                     NAME:                           AGENCY/DEPARTMENT:

      cc:                                                                                ®
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                             Case 5:14-cv-05091-JHS    COUNTY11PRISON
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    TO:    PUBLIC DEFEENDER'S OFFICE                                     RE: REQUEST FOR INFORMATION/ASSISTANCE


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    1•    SUPPLY ALL OF THE FOLLOWIN~ ~NFORMATION T~                             JON ~Wfipf'3 Yffl:
          Date of Admission to BCP                   l:f4/tL(        Dat~ ~f -~~rest! (11/3/t4 Bail      1
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          Charge         &   Docket Numbers          {b:'):;.es"Si C10 ~ (_ /'\. - ·-/ J5',.. IL(
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          Distrf ct Justice or Judge              Attorney\'[i[:'
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          Were you on probation/parole at time of arrest? I ·    Yes CJ No
    *********************~******************************~**************************
    2.  REQUEST INFORMATION OR ASSISTANCE ON THE FOLLOWING:
          .D         g~rrent status of criminal case.
          ~Date                  of next Court appearance.
          D  ~-Request for plea bargain.
          ~Request name of att~rney assigned to my case.
          D          ~equest information regarding bai1 .
                 .....
          [;2f'      ~equest interview with my attorney to discups:
                         D        p..e--a·bargain.                  Q_~-ls-.-;
                         ~~Court appearance.                        [2J'       Other Mat~er.

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          RESPONSE:




                                   NAME:                                      AGENCY/DEEARTMENT:

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··:Inmate Name                                                                                              f{~O.lri.1-~~                   .· ·. (;:t;~_;foJ~n.itfde11 'ij>" K~~D~                                                               . · ~ate        · ·   7,     I
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                         s::5QH:J 3"2014                                                                           Onginal - Treatment File                                     Canary- Return to inmate with response                                                             ~'.·};';:·
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                               Deputy Warden 6M1f                0 Treatment                      ~~cordsA                                                             ip 1                                       0      Medical
              D ~itch~e:n. ,.. _D1 .~YR~rvi~9r.                              ... . .          · .. _"                     D. Chaplairi         . . ,.(p..1n!Flete Acqounts                                           '
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              Write legibly, .supply all relevant details. Forms which are unclear or cqntain demeaning language, threats
              or profanity will not be addressed. ONLY ONE TOPIC PER COMMU1rCATION.




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Statement: Detail the act or condition which caused this grievance. (Be specific; list all µfltes, times, loc!}.tions andwitnesses.)
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•Supervisory staff of the jail may impose protective custody in extraordinary situati~ns.
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•1.4 Rights, Privileges, and Responsibilities

       · 1.4.1. Rights
         You· have the right to:
                 ·    · • · be treated impartially and'justly;
                         • .a· nutritionally adequate diet; :                                     .
                         • · pe~onal grooming· choices regarding appearance, whiqh are limited oply by
                             · institutional·. requirements for safety, security, ldentificaUon,-or hygiene;:
                  ,,     •     receive.and send·mail, including sealed'correspondenc~ with elected. officials,
                               attorneys and officers of the cou'rt subject to necessary':limitations;
                       · • have visitswith civilians within the guidelines establish'.ed tor·the program;
                                                    .                                       'I·
                        ·• be addressed respectfully by staff; .                            i1
                        '" ·.be supervised by st.aft, not inmates; · ·         .            :1 •               •   · ..
                        .• be. free from corporal punishment, deliberate per$onal 'J![!jury, deliberate _property
                                damage, harassment, ·or use of excessive force by ~ta{fi;


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                          • . participc;1te in the classification process;       ·          ;·      .
                          • have access to a grievance system;                               :    ·
                      ~ have access to counsel through unmonitored telephon~ calls;

                       *··• · the opportunity for unsupervised visits wjth your attorney, except where~ reasons
                                for restriction . exist",    ·
                                have. access. to legal· materials;*
                          • exercise, except during quarantih.e;
                                                                     ·


                          •· voluntary access to clergy and religious services; and 1
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                                                                                              ,
                                                                                              ,
                                                                                                              . ·,



                         •• have access to health care.                                       ·
                                                                                          :


 '·        1.4.2.. .Privileges ·• ~ · · .    · ·       · · ·      · ·     · : · · · · \·            ·   ~
      . ·. Many prpgrams,and opportunities are offered to you while you are in cus(ody, in·additicm to' those
           which are described as rights. These are privileges that may be restricte~ or denied to you, as a
       , result of abuser: of. the privilege~ unacceptable institutional adjustment, or misconduct. These· ·
           privileges may include but are not limited to:               . '                           .
            · · ·            • · ·comm.issary;            ·
                             • day room activities;
                             " . recreational activities;
                           · • general use of the collect can telephones; and
                             • . participation in .programs.
                                                                                          '"
         1A.3. Responsibilities. ' . ·                                '··
          An insepara.ble component of all your rights and privileges is responsibility. For example, altho~gh .
          you would not wish to .be subject of an unreasonable search, you. have a ~esponsibility to cooperate
          With any melTlber of staff who. is conducting. a search of your cert, lrQQID] orl person. Shc>uld you ; ·
          believe that the searchwas unrea$onable, you may file a complaint, after the fact. Generally, your
        · behavior should be the,.,same as what is expected of any member of the .cofomunity. You should:
                          • obey orders and· directions from all jail staff i.mmediately;                                 /
                          • . respect others when speaking to -them;                        \· ·
                          • · obey the laws of the civilian community;
                          • .·refrain from infringing ·upon another's ~ig!:t~ or privllege~;
                          • ·cooperate with staff at all' times; and ··                 . •
                          • · be familiar with all tf:te rules and regulations of this institution.
        --
         Most importantly, be aware that you will be .held responsible and accoun~ble for all your actions and
         ~e~avior while you .are .here..     ·       ·       ·              ·            ·          ·        ·


        8h:1 6~C-J_~                                        Pag•3     bch16}M.l:rRO.i                                     @
                        Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 24 of 59
     2.10 Legal Assistance             ·                 ·     ·          , -               ·    -:_ .
          The only individuals .who are entitled to collect a fee from you for legal services are Uicensed,
        . practicing attorneys or legal service agencies. Many are listed in tt;ie telephpne dil'~~pry. lt·is a rule
          violation fgr you to pay/reward .or apcept payment/reward from anoll:ler inmate'~or ld,gal ~dvice or ·
          assistance. .                                                           .                l -
                                                                                                         f                                    .
                                                                                                                                                  1
          If you are unable to afford a private attorney you are eligible for the (s;ervices of a. l?~l;)Jic ,. , der   .·
         You may request a form to correspond with a Public De~ nder froml our unit.6fficerl •· dditionally,
            ou can ca collect to the u 1c efender's Office from the· hone~! on the ·lltjusin i'.Pnit (during .times
         posted on'<:ir near · e telephones)J.Ji                                                      ~;:_·
              /                 .             ~                                           .           t
          For preparation.of legal corre~pondence, pa~er and othe~ miscell~~eous mate~als ~~W ~~                      ·
        .·purchased through the commissary.. Typewriters are available for [use on housing 1:1.~1~·- _1,f you have
          the .funds, you may purchaf;;e the. materials needed .to m.ake photocppies from the .cllP,n:iis,sary. · (The
          cost of these materials pays for the use of the copy, machine.) Requests- by indigeniinmates for
          photocopies will be denied.                                                                   ··
                                                                                                          ;~$.
                                                                                          .            . . ~~
            The law library is provided with supplies valued at least $500 per year for use by indigent inmates.
            (One .twelfth ofthes~ supplies are provided monthly.).      · .     ·;               '"t.'.     .
        .                      . :                                 '                                         "'?'                         .

     · 2.11 Video Conferencing                                                                                ,,.
              Berks County .Jail System.has imple.mented a video conferencing Rrogram. It is avaflabl~ to all
              inmates :free of charge. All vide·os are conducted in a private settipg allowing you a ''Bhe.;on-one
              confidential con,versation with your pul>lic or'p,rivate .official.
            '         1~      . . " .                                               .     .
       · Vadeos ~r;e conducted with the following agencies: Public· DefendePs Office, Privat                                     o(neys,
        . Domesti:d Relations, Social Security Office·, District Attorney's. Offic~. District Justic_                   Jid lthe Berks
          County Courthouse.·                                   ·                 ·
                    .                                  .                              '                          (•~:             .   .

        . If you wish. to·speak-to any of the above agencies, you may telephone or write a lett~Mo, that agency
          requesting a private video. All scheduling. must be· completed one ~ay prior to tne vi(.jpdi Many of the                    I
        · agencies will automatically
                                  .  .
                                       schedule a video with you as time perr:riits.
                                                                               !
                                                                                                "~4    l     ·
                                                                                                                 ~
                                                                                                                          ·· '
            You are ~xpected to act as a mature adult throughout your confere'nce. Aggressive ~~d.isruptive
            behavior will result in .the termination of your conference and. may·1ead to disciplinai'Y1~~ction. .
             .      .                                      .           .   .                    .                   ~-:-~,t~


      2.12·.searches                                                            .
             ''You, your cell [ooml, and your belongings are subject to a full seareh at any time. T 1~may include.
            · the dismantling of item.s .in your possession or _areas controlled by. you. It may al,so i_ "''.~e a full body
               search, requiring you to completely disrobe. Yeur presence dudnd cell [OOUjj.searc              ,_ s:not a legal
               requirement.      ·                                    ·        ·    ·· ·                 ·r·;~~~ ;
                                                                                                                      ·:..?--;        I
r-
              You will be held accountable for any contraband (or damage to jail: property) discove[~.<:t. ~s a result of
              a search. When moving to a new cellfoomVarea you are responsi~le for informing sf~tf~ofany
            · propertydamage·and f9rtuming in any contraband-ilerpswhich you may discover. · ·:,·_-"_'· ·           __
                                                                                                                          _.,_,

             When a se.arch is made, you are responsible for cooperating with $taff. If you have a complaint,
             utilize th~ grievance system after the searc~.: .  . .        · '

             Internal examination (body cavity) searches· may be cond1.,1cted by authoriz;ed medical personnel.
             You ·may be detained, under obseiva~ion; until arrangements can be made for such· a se.arch.




                                                                Page 10
·:' ~.'i!.:·:·;·.'.·~;\i.,~·~~·f':~~i'Y"~'.:~·~:l¥:.1.{:t':i~iU·'·i ~\jf-W ·•f'.''"'"._. ·n \\ w,.rr·?n
                                                                                                          Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 25 of 59


                                                                                                                   TILl'~HONl!E CALLS
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                              • Inmate TeleP~one Iftcorpor-ated offers h'lm1!1tes the al:JiUty t-0 make colkK;t or debit                                                                                                                                               p~one calls~

                             • A phone call is 20 minutes in length.                                                                                                                                                                                                                t--
                                                                                                                                                                                                                                                                                     )
                                                                                                                                                                                                                                                                                    -~
                             • Phone Call Charges are:
                                 o Local call: $1.41 , .
                                 o Local long distance: $7.78
                                                                                                                                                                                                                                                                                    2-
                                 o Long distance Prepaid/Debit: $4._20 Collect: $5.00
                                                                                                                  /, .



                            • Local long distance and long distance calls are billed per time .on phone.




                                                                                                                                                                                                                                                                           ..   .   \    .




                             • Telep~one calls are subject to monitoring, recording and may be intercepted or divulged and
                                                                                                                                                                                                                                                                                    d
                               third party calls are prohibited.
Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 26 of 59
                                  Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 27 of 59




                                                                                    ·Ad~inistration Use Only                           iI
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             D    Does not fit criteria for an emergency/sensi~ve .g~evance              D   Form is incomplete               ·       ·f    j D ··Resubmit on proper form
                                            .   ~ Lac!fs deta~s .              . "'· .            ,•, .. .   .   0 M~st b~ c~~~lf ed in_ E_n~h                     .

)~           Statement: Oetail                                  ·ch c~~sea this ~evan~~- ·(Be sp~c~fic; .list ~n 1' 1at~s, times,                        locati~hs and witnesses.)

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                                                   Grievance.#_ _·...,·'J{°F-L_·_ _                                  . Date Posted! :
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             Original: Treatment Fi.le          · Canary: Return to inmate with.response                                               I                               FORM# RECJ20 (REV l/10)
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                                                                                                                                  ~    i j·
                                                                                                                                        i   I
       Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 28 of 59
                                 1    COUNTY OF BERKS, PENNSYLVANIA
                                            Office of the Public Defender
                Courthouse, 12th Floor
                633 Court Street                                                                      Phone: 610.478.6650
                Reading, PA 196q1                                                                       Fax: 610.478.6673

                Christian Y. Leinb~ch, Chair                                         Glenn D. Welsh, Chief Public Defender
                Kevin S. Barnhardt, Commissioner
                Mark C. Scott, Es~ .. Commissioner




                                                                 July 14, 2014


Ramsey Randall
Inmate #2003-6424
Berks County Jail System
1287 County Welfare Road
Leesport, PA 19533

RE: Com. vs. Randall
Docket Numbers: CP-06-0R-0002759-2014

Dear Mr. Randall:

       Please be advised th.at I am in receipt of your letter of July 9, 2014 regarding
representation in the abovej case. ·                 ·
                                 i
        Be advised that Asdistant Public Defender Roarke T. Aston, Esquire, is assigned
                           I                                                                                  .
to represent you in the aboye case.                         ,
                                 i

   •
          I will refer your leder
                               j
                                  to Assistant Public Defender Roarke T. Aston for his
review.                          1•




                                                                 Very truly yours,


                                '!
                                                               ./'
                                                                     ~([)(;JAL{_
                                                                 GLENN D. WELSH, ESQUIRE
                                                                 Chief Public Defender                            '
GDW/dah




                         Dedicated to public service with integrity, virtue & excellence
                                         www.countyofberks.com
Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 29 of 59
                                                     Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 30 of 59




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     RESPONSE:----.,.-~----------..,---....,..-----,-------r---+---..,...--------:-.f:c.="·;_ ___,.,.~-i'-~~~
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     Date ~0l~.t~~ri\.f                          .   Staff Member (Print) / . {              .i..aj-( .
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     BCJS 501U, 3-2014:;,
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                                                11 Filed 10/22/14 Page 31 of 59 af.OL .Pt1ey
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                               (kR[,pfuo ie                                   ®
                                           BERKSDocument
                       Case 5:14-cv-05091-JHS    COUNTY JAIL
                                                         11 SYSTEM
                                                             Filed 10/22/14 Page 32 of 59


Inmate Name
                  ~fV\S(;"l 2:t-N;;~=EVAN~M':: 0)-{/{)-~                                                                               Cell'---k_·.                 r~(~_,
                                                                                                                                                                        _·_
                                                                                                                                       Date           ?/90//l/
                                                                                                                                                       f.  I
                                      Instructions: Refer to the inmate handbook for information on the inmate grievance system.

                                                                    Administration Use Only

 0   Does not fit criteria for an emergency/sensitive grievance          0   Form is incomplete                 0    Resubmit on proper form

                                  D   Lacks details                                      D    Must be completed in English

 Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)




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                                                       ioR AMINISTRATIVE USE ONLY


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Grievance Answered By: ___              l=1
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                                                                          _ _ _- ' " ' " - - ' - ! - - - - - - - - - - -        Date   /-     J..l-1 'f
                                                                      1



                                      Grievance#                                                 Date Posted



                                  Canary: Return to inmate with response                                                                    FORM# RECI20 (REV 2/10)
 Original: Treatment File
/

                                         Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 33 of 59



    INMATE:•                                                   HOUSING UNIT:         P\,- i(J,_;L
                                                              l "I       I                                                  l

    1.        SUPPLY ALL OF THE FOLLOWING INFORMATION THAT IS ~~OWN TO YQU:
                                                                                                                                       1
              Date of Admission to BCP                         &/'i/14        Date of. Arrest          f       rd .? IL/        Bail       /5f<d-Yt:t1"'AV/i
              Charge              &   Docket Numbers              ~R-'.f<6-'-/..                     ·t                                                   ,,


              District Justice or. Judge ·??t-R:r.SI                                   Att~rney~l ~.NN~ame '~11-/xc .'Tv ,4&/:-of'(;·
              Were you on probatfon/parole at time of arrest? .                                            fiZ:J    Yes    c=J No
    ***********~**************~**************~********** t*~**************'********
    2.        REQUEST INFORMATION OR ASSISTANCE ON THE FOLLOWI~~:

              0                 current status of criminal case.                                           1.
              ~;~--of next _Court appearance.
                                                                                                           1
                                                                                                           \


              c=J.              Request for plea            b~rgain.                                       I
              CJ                Request name of attorney assigned to my case!.
              1==1              ~ information regarding bail.
              ~Request interview with my
                                 0:            _!'lea bargain.·               D      Appea,ls.             :

                  ,_   -~   .
                                 ]:~fi court            appearance.           ~Mat                         er ..

    .:k;~r ¥~-~t*·-..._~t* ***i* * * * * * * * * * * * * * * * * * ~ * * * * * ** * * * * * * * * * * *, * * * * * ** * ** * * * * * * ** * * * * * * * * *
    3 ·• '.   SUP~t!¥: '.$PE:~IFIC                  DETAILS RELATED TO THE ABOVE REQQEST:
                                      ·-.-~I                              ~
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                                                                                                           I:

                                                                                                           11
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                                                                                       /'                      II
                                                                                                           I
                                                                                                           1   I
                                                NAME:                               AGENCY/DEP~TMENT•
                                                                                                                                                @
                                                                                                                                209-REC-115
                                                                                                           I                    3/98
                           Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 34 of 59


                                                                                                                                               Cell       f< ~)QrJ
                                                                                                                                                   Date   +/ (;,°:/ f/ / 'J{/
                                                                                                                                                            f                   I
                                               Instructions: Refer to the inmate handbook for information on the inmate grievance system.

                                                                               Administration Use Only

       0   Does not fit criteria for an emergency/sensitive grievance             0   Form is incomplete                 0                    ' form
                                                                                                                             Resubmit on prop'er

                                           0   L,11cks details                                    0   Must be completed in English

       Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.) ,




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                                                /                  FOR AMINISTRATIVE USE ONLY

      Grievance Response:    It IJ.J ttt ;u;/I . II IU . /1 LlU.I( ti .AIt l"2tr
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      Grievance Answered By:
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                                                  )~\ C                                                                             Date      7-CI 3--ll/
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                                               Grievance #       ). 7 7-   I                                                              't_.__
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                                                                                                         Date Posted_ _
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                                           Canary: Return to inmate with response                                                                     FORM#RECl20 (REV2/!0)
       Original: Treatment File
                                    BERKS COUNTY PRISON
                 Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 35 of 59
TO:      PUBLIC DEFEENDER'S OFFICE             RE: REQUEST FOR INFORMATION/ASSISTANCE

INMATE:                                                  HOUSING UNIT:                                            TODAY'S DATE:

1.     SUPPLY ALL OF THE FOLLOWING INFORMATION THAT IS IQIOWN TO YOU:

       Date of Admissfon to BCP                          {J_~t/            Date of Arrest':&/o/fC/                            Bailf~
       Charge        &   Docket Numbers                   E~-';;)...15j-/L{                            :j
                                                                                                       :I          I


       District Justice or Judge               Attorney:~ _/_4cij-=-_tC)
                                                            m-z.s;t.. ____CJ=------
       Were you on probation/parole at time of arrest? I~ Yes c=J No
* * * * * * * * * * * * * * * * * * * * * *'* * * * * * * * * * * * * * * * * * * * * * * * * * * * * **I*
                                                                                                        II * * * * * * * * * * * * * * * * * * * * * * * * *
2.     REQUEST INFORMATION OR ASSISTANCE ON THE FOLLOWI$1,G:
                                                                                                       Ii
       D         Current status of criminal case.                                                      il
       D         Date of next Court appearance.
       D         Request for plea bargain.
                                                                                                       '
       CJ        Request name of attorney assigned to my                                         cas~:.

       D         Request information regarding bail.                                                   !
       o.        Request interview with my attorney to discu$s:
                                                                                           ---·
                                                                                                       i

                                                                                                       I
                     CJ        Plea bargain.                                           peals. I
                                                                                              '
                     r=J       Court appearance.                                     Other Matter.
                                                                                                       I
****************************************************'***************************
                                                                                                       I
3.      SUPPLY SPECIFIC DETAILS RELATED TO THE ABOVE REQliJEST:




       RESPONSE:




                                NAME:                                              AGENCY/DEP~TMENT:

         cc:
                                                                                                                               209-REC-ll@
                                                                                                                               3/98
                            COUNTY
         Case 5:14-cv-05091-JHS      OF 11
                                Document BERKS,   PENNSYLV
                                           Filed 10/22/14      AN:IA
                                                          Page 36 of 59
                                                        Clerk of Courts
                 Courthouse, 4th Floor
                 633 Court Street
                 Reading, PA 19601-3585                                                       Phone: 610.478.6550

                 BethAnn G. Hartman, Chief Deputy                          James P. Troutman, Clerk of Courts
                 James M. Polyak, Solicitor
                 Daryl F. Moyer, Solicitor, Emeritus




                                                            COMMONWEAlTH OF PENNSYLVANIA
                                                                                      v
                                                                       RAMSEY RANDALL

                                                         DOCKET# 2759-14

                                                         Date Mailed: Aug4st 5, 2014

Dear Sir or Madam:
                                                                                 Il
                                                                                 i
                                                                                 l
       Please be advised that your COMMUNICATION (LETTER                       to JUDGE RE COUNSEL)
and docketed in this office on August 1, 2014.           '

        Judge Thomas G. Parisi who handled your case(s) or who has since been assigned to your
case(s) has been notified that the above communication has been filed. Thank you.




                                                            Sincerely,




CC: JUDGE                /
                                                            ~
    DA·
    FILE          '
    DEFENDANT BCP#03-6424
    ROARKE ASTON APD




                          Dedicated to public service with integrity, virtue & excellence
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Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 37 of 59
YUU MU~T        BE REPRESENTED BY COUNSEL TO WAIVE ARRAIGNMENT(Pa. Rule of Criminal Procedure 571 (D))
                        Case
                   IN THE    5:14-cv-05091-JHS
                          COURT                Document
                                 OF COMMON PLEAS OF BERKS11 Filed 10/22/14
                                                          COUNTY,          Page 38 of 59
                                                                  PENNSYLVANIA-CRIMINAL

               EAL TH OF PENNSYLVANIA                                          OTN:      T 435820-0
                         VS
                    Randall                                                    CP-06-CR- - - - - - - - - - - - - - - - -
                                                                                    (if known)
                                                                               C.P. Original Arraignment D
                                                                               Case Disposition Date/T
Address                                                                        Defendant must appear o
                                                                               Trial Date/Time:
Phone Number                                                                       (If applicable)
                                              ENTRY OF APPEARANCE
Enter my appearance for the above-named Defendant.                                                           INTERPRETER NEEDED                D
 Paul G. Yessler                                                                                              72140
Attorney for Defendant                                Date                                                   Attorney LO.#
633 Court Street, 12111 Floor, Court Hn~se, Reading, PA 19601                                                610-..f 18-6650
Address of Attorney                                                                                          Attorney Phone #

Email Address of Attorney
                                                WAIVER OF ARRAIGNMENT
I hereby waive my appearance at arraignment and I stand mute with respect to my plea. I have been advised by my attorney of the
charges against me and that my attorney will receive copies of the Criminal Information filed in this case. I know I have the right:

    1. to file a request in writing for a Bill of Particulars with the Clerk of Courts and a copy to be served on the District
       Attorney within seven (7) days following the above listed arraignment date (Pa. Rule of Criminal Procedure 572);
    2. to file a motion with the Court in writing, requesting pretrial Discovery and Inspection and a copy to be served on the
       District Attorney within fourteen (14) days after the above listed arraignment date (Pa. Ruie (,fCriminal Procedure 573);
    3. to file Omnibus motion with the Court in writing requesting all other kinds of pretrial re lid and a copy to be served on the
        District Attorney within thirty (30) days after the above listed arraignment date (Pa. Rule of Criminal Procedure 578 & 579).
              THE TIME LIMITS SET FORTH TO EXERCISE THESE RIGHTS WILL BE STRICTLY ENFORCED!
    4. If I fail to appear without cause at any proceeding for which my presence is required, including trial, my absence may be
        deemed a waiver of the right to be present, and the pro~..eding-may-b.e...QQ~9..l!:_ted in my absence.
   I am here~y notified that, as a condition of bail, I am required to .·6tify !n _w~-t~e-Clerk-u!-Geu~ffi< e, the District ':-ttomey'.s o~fice: and the
   County bail agency of any change of address and/or telephone mber ~ r.ty-e1ghr(41l)nonrs-a~llny, change by marl or dehvenng m person
   said notice to each ofthe above(Pa. Rule of Criminal Procedure 17)~                                       ·.

I must appear in Court on the above dates and times b o e Judge Thomas G. Parisi9in
                                                                                 c' , rtroom as posted in Courthouse or
Services Center lobby. IF I FAIL TO APPEAR ON           CASE DISPOSITION DATE       D TI.ME, A BENCH WARRANT
WILL BE ISSUED FOR MY ARREST.
                                                                              ,,;::-                           /'


OJ I understand11 that I am directed by my attorney to repo~ -~.~-I?.r..Qba~Par,9J{ Office for a Pre-Sentence Investigation
(PSI) on the 7' floor of the Berks County Services Center. 1-...~t comacrfhe~_b.du1t Probation/Parole Office at 610-478-3400
within three (3) business days after my original arraignment date to scfiedrrle-'salci PSI.


Signature of Defendant                                   Date                   Signature of Attorney

ALL OF THE ABOVE INFORMATION MUST BE COMPLETED. THIS FORM AND FIVE (5) COPIES MUST BE RECEIVED
BY COURT ADMINISTRATION AT LEAST THREE (3) BUSINESS DAYS BEFORE THE SCHEDULED ARRAIGNMENT DATE.
THIS_FORM SHALL BE MAILED OR HAND-DELIVERED TO COURT ADMINISTRATION. IF MAILED, PLEASE PROVIDE
A SELF-ADDRESSED STAMPED ENVFT 0PE FOR ATTORNEY'S RETURNED COPY.

 Address: Court Administration                                               FOR COURT ADMINISTRATION OFFICE ONLY
          4th Floor - Services Center
                                                                            WAIVER ACCEPTED                            /REJECTED - - -
          633 Court St., Reading, PA 19601
 Phone No.: (610) 478-6208 x5715 or x5719                                       Date                            Initials - - - - - -

 Disttibution: Clerk of Courts (Original), District Attorney, Adult Probation, Del'ense Attorney, Judge, ~ourt Administration       rev.11.2.12 cm
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                                                  BERKS
                              Case 5:14-cv-05091-JHS    COUNTY JAIL
                                                      Document  11 SYSTEM
                                                                    Filed 10/22/14 Page 42 of 59
                     ___...        . .                                 INMATE GRIEVA'NCE FORM
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                                         Instructions: Refer to the inmate handbook for information on the inmate grievance system.                                                                   f                   I
                                                                                   Administration Use Only

 0   Does not fit criteria for an emergency/sensitive grievance                         0      Form is incomplete                                0     Resubmit on proper form

                                    D    Lacks details                                                           0     Must be complet,ed in English

 Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)




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Grievance Answered By:__,A.6'--'.        =-"~-"-'-r:~-==----------'~=---=-·_··_?":_#_________                                                                   Date              [(•
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                                         Grievance#



 Original: Treatment File           Caqfily: Return to inmate with response                                                                                                                      FORM# RECl20 (REV 2/10)
                                                                      BERKS
                                                  Case 5:14-cv-05091-JHS    COUNTY JAIL
                                                                          Document  11 SYSTEM
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                                                                                                                              INMATE GRIEVANCJ: FQRM

 Inmate              Nam~ ey1?J><pJttlLl                                                                                                                                                                                                                                          Cell_k----'-                              /_D_J_
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     0       Does not fit criteria for an emergency/sensitive grievance                                                                               0         Form is incomplete                                                    0       Resubmit on proper form

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     Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)




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     Grievance Answered By: _ _                                                     .._/"'"T._-__.J=~-l._,,,.,c.=').J'"".#"'------"J'=-=',,_/.____________
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                                                                            Canary: Return to inmate with response                                                                                                                                                                             FORM# RECl20 (REV 2/10)
     Original: Treatment File
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August 5, 2014



Hello Son,

I received all of your letter's and I got the letter about the court thing, unfortunately there was no
sample in there. Someone may have removed it, but it never made it way to me. I have been
pretty busy and have not really seen anyone, so I am guessing everyone is fine. I see Aunt
Rosie's and Uncle Dan at church but have not seen the others. Talked to Devona she was having
some car problems, but other than that she is fine. Chrissy, me and the kids went to Knoebles
finally after all these years in Reading. Jt was nice. I tried to talk to Chrissy about w:hat you said,
but she is defensive over that guy, so I just decided to back off. But, I have my eyes and ears
open. But, pretty much comes down to she has to live her own life just like you do.

That is what I have been trying to explain to you. I am not cutting you off or loving you any less,
I have just come to a place where you guys have to live your own lives. If you want my opinion I
will give it, but if not I will just keep my opinion to myself.

I do not like going back and forth either, that is another reason why I stopped writing, because I
am not doing that anymore, because you have already made up in your mind. But, I will say this
as long as you keep rehearsing old things from the past in your mind you just keep giving life to
it. When you decided to take charge and stop letting the anger and all control you it will be
better. All the stuff you keep playing over cannot be fixed or changed. It does not make it better.
That does not mean it did not happen, it means just that it can't be changed. It's that simple.

Also, wanted to let you know some things you try to keep secret are really not a secret. I already
knew you were seeing Emily and I could care less, because I had already stated what I knew and
whether you and her stayed together or not it was none of my affair. All that mattered to me was
that you were okay. I do not have to like it or her because it's your life. Be with whomever you
would like. Next I had already known she was pregnant and for some reason I do not expect it
was the first time, but the only time you knew. Mind you I have no proof of that it is just a
feeling I had.

I hope when you go to court you really do beat your case and I will help you the best I know
how, but since my house hold so many bad memories for you and you cannot have people in and
out my house I think the best thing is that you get a room that way you can do all you like to do
and have over whomever you want. I have tried to help and since the room I have is so small I do
not want you to feel cramped.

For the record I am not being stubborn but, I am very cautious. And because you trust certain
people does not mean I must. I do not like unknown, random people in my house. It has nothing
to do with Chrissy or Devona or you. I was the same way when I was married and your father                @
                                                                 [;--1- A~                        A:l\'.1-
        Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 46 of 59



and he had band members come over. I was this way long before any of the stuff happened
when you all were young. I goes back to my childhood I guess because my mother worked 3pm-
11 pm and we could not have anyone in the house while she was gone. That is why Devona &
Chrissy did all the sneaking people in and out, so I would not know. This is me and all me and it
will not change. You may know them, but that gives me no comfort. I am not comfortable with
certain people in my house. So, if my rules upset you there is nothing I can do about it. And truth
be told I know you like music, promote music and all that other stuff, but I am not even
comfortable with all that loud music in my house. Too much, swearing, and such. I do not like it.

So, I am not trying to see you on the street or nothing like that, but something just will not
change. So, you have to decide if you want to deal with or live somewhere else.

I am supposed to start Seminary in two weeks and I just do not want all this stuff going on and I
am so sorry for all your anger, but I am not your problem. You are your problem, because you
kept it all inside. You have told me what you wanted me to know so far. You are the one who
decides when and if you will talk to me. I cannot change the past, beside telling you I am not the
same person. The past will not change, sorry for that, but you have to decide if you still want to
rehearse it. You keep saying you are angry about so much. Okay, but are you going to stay angry
all your life? Because, if you keep replaying the stuff you will continue to be mad and angry you
will never be happy. There are things from my pass I am angry about as well, but I do not
rehearse them. And if I think about them long enough I could really get angry. But, I do not talk
about them, because I refuse to give them life or control over me. Only thing I am guilty of is
"Not knowing".

As for arguing and going back and forth when you know someone does that to you. They know
how to take you there and what buttons to push and do so on a constant basis. That is a person
you need to stay far away from. Example your father exactly why we are not together today.
That is a form of abuse and people do not recognize it. Those days are over for me. I have no
patients nor do I have any time to argue, because I found out know ones wins, sometime it's
better to agree to disagree or find a common ground. Pick your battles so to speak.

But, I feel with you is that you want someone to take responsibility for everything that happened
to you and I just do not know how to get you to understand that the best you may get is an
apology. And you have to accept that that is all there is and move forward.

So, I wanted you to know I am doing fine and the girls Chrissy & Devona are fine. Capri is good
and everybody is just preparing to go back to school, except for Chris of course. He is walking
and yelling at everybody, but he is cool.

I hope you are getting whatever help you can. Sunday School has moved to Saturday morning
and since I may have a Seminary class on Saturday morning not making no promises to come up
there. I know and understand all you say about this law suit thing, but I am sure you counted the
cost before you pressed forward with it, because I know nothing about it nor understand it all,   @
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but I am sure you are well versed with all the in's and out's. As always my prayers are with you
and I AM PRAYING ... MORE THAN YOU KNOW!!!



Mom .. .love xoxoxoxoxo
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                                         BERKS.
                     Case 5:14-cv-05091-JHS     COUNTY JAIL
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                                                                        INMATE GRIEVANCE FORM                                                                                                                          \I
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                                                Instructions: Refer to the inmate handbook for information on the inmate grievance system.

                                                                               Administration Use Only                                                                                                                      /
D   Does not fit criteria for an emergency/sensitive grievance                    D    Form is incomplete.                           D       Resubmit on proper form

                                            D   Lacks details                                      D       Must be completed in English

Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)




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Grievance Answered By:               L~ sJ ,o
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                                                Grievance#   3~1 LI~ JL-/                                    Date Posted



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                                                   Instructions: Refer to the inmate handbook for information on the inmate grievance system.
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Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)                                                                                                       /




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Grievance Answered By:_·=6_r._~_·~t::~
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 Original: Treatment File                    Canary: Return to inmate with resp                                     se
        Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 51 of 59




To:     All Inmates                                -   /

From:   Barbara Kane, Acting Deputy     Warde~
ECC:    Senior Staff, Lieutenants, Sergeants, Lobby Officer, Inmate Accounts, Treatment, ITI and
        Administration File
Date:   8/13/14

Re:     Special Services Menu (Option 5)



Effective immediately, indigent inmates who have not paid their processing fee in full will have access
to the Special Services Menu (Option 5).

All other options will remain inaccessible until the processing fee is paid.




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                                               COUNTY JAIL Filed 10/22/14                                                   Page 52 of 59
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                                                                       Administration Use Only

 0   Does not fit criteria for an emergency/sensitive grievance           0    Form is incomplete                   0     Resubmit on proper form

                                    0    Lacks details                                      0   Must be completed in English

 Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)




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Grievance Response:




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                      /                      ~~i              INMATE COMMUNICATION ~_?RM '                           (_I
                    .:- "'? · ' // ~ ~ .                                                   BCJ #    0-~{JL(;)
 Inmate Name              'fY'uf5(;· i/ '(ArJ D/(i[                                    Unit/Cell#       £ - / / (o
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  TO: (Select only one of the following,                            selecting more than ONE box will result in your communication being filed, unanswered.}


  D Warden floeputy Warden                                      D Treatment               D Inmate Telephones                             D Inmate Accounts
  D Custody D Medical                                           D     Education           D SOG Commander                                 o ___          _
  D Kitchen D Chapel                                            D     Commissa!Y          D   Booking/Mail/Property

  Write legibly, supply all relevant details. Forms which are unclear or contain demeaning language, threats or
  profanity will not be addressed. ONLY ONE TOPIC PER COMMUNICATION.
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  Note:     Writing in "response" section will result in form
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                                         D       Lacks details                                       D   Must be completed in English

     Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)




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                                     Case 5:14-cv-05091-JHS Document 11 Filed 10/22/14 Page 56 of 59
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            Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)




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    Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)




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